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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 ZURICH AMERICAN INSURANCE
 COMPANY,                                           Case No. 17-cv-06417-VC

                Plaintiff,
                                                    ORDER OF DISMISSAL
         v.

 NIEBUR DEVELOPMENT, INC., et al.,
                Defendant.


       The Court has been advised by the Stipulation With Proposed Order To Continue Initial

Case Conference And Related Dates filed by Zurich American Insurance Company on January

30, 2018 that the parties have resolved this case. (Re: Dkt. No. 17). Therefore, it is ORDERED

that this case is DISMISSED without prejudice. All deadlines and hearings in the case are

vacated. Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reopen the case is not filed and served on

opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: January 31, 2018
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
